                Case 8:19-cr-00061-JVS Document 17 Filed 04/10/19 Page 1 of 2 Page ID #:316

    3Reset.Fo~mAr<                                  UNITED STATES DISTRICT COURT
                                                                                                              FILED -SOUTHERN DIVISION
                                         ~         CENTRAL DISTRICT OF CALIFORNIA                            CLERK u.s. o~srRicT couAT
                                   ~  I ~~                      CASE SUMMARY

         Case Number                             ~                                  Defendant Number 1
         U.S.A. v. Michael John Avenatti                                            Year of Birth 1971     CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                       TY
        0Indictment                     ~ Information                   Investigative agency (FBI, DEA,etc.) IRS-CI

 NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A:'

OFFENSENENUE                                                                 PREVIOUSLY FILED COMPLAINT/CVB CITATION
 a. Offense charged as a:                                                    A complaint/CVB citation was previouslyfiled on: 03/22/2019
                                                                             Case Number: 8:19-mj-00241-DUN
     Class A Misdemeanor ~ Minor Offense ~ Petty Offense
                                                                              Assigned Judge:     Douglas F. McCormick
     Class B Misdemeanor ~ Class C Misdemeanor ~✓ Felony
                                                                             Charging: (see complaint)
 b. Date of Offense In or around January 2014 to March 2019
                                                                             The complaint/CVB citation:
 c. County in which first offense occurred
                                                                                0 ✓ is still pending
 Orange County, California                                                          ❑ was dismissed on:
 d.The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                   PREVIOUS COUNSEL
                                                                             Was defendant previously represented?       ❑ No     ~ Yes
      ~✓ Los Angeles              ~ Ventura
                                                                             IF YES, provide Name: John Lewis Littrell, Steven Jay Katzman
        ✓ Orange
        ~                            ~ Santa Barbara
                                                                                     Phone Number: (949)369-3700
            Riverside                ~ San Luis Obispo
                                                                             COMPLEX CASE
            San Bernardino            ❑Other                                 Are there 8 or more defendants in the Indictment/Information?
                                                                                      Yes*        ~✓ No
Citation of Offense (See Indictment)
                                                                             Will more than 12 days be required to present government's
                                                                             evidence in the case-in-chief?
e. Division in which the MAJORITY of events, acts, or omissions                   ~✓ Yes*         ~ No
  giving rise to the crime or crimes charged occurred:                       *AN ORIGINAL AND 1 COPY(UNLESS ELECTRONICALLY FILED)
                                                                             OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
     Western (Los Angeles,San Luis Obispo, Santa Barbara, Ventura)           TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                             CHECKED.
    Eastern (Riverside and San Bernardino) ~✓ Southern (Orange)
                                                                             SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                 IS THIS A NEW DEFENDANT?        ~ Yes ~ No

Has an indictment or information involving this defendant and                This is the N/A     superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously               The superseding case was previously filed on:
filed and dismissed before trial?
       0 No        ~ Yes
                                                                             Case Number
        If "Yes," Case Number:
                                                                             The superseded case:
Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present                 is still pending before Judge/Magistrate Judge
case:
    a. arise out ofthe same conspiracy, common scheme,
       transaction, series of transactions or events; or                     ❑ was previously dismissed on

   b.involve one or more defendants in common,and would                      Are there 8 or more defendants in the superseding case?
     entail substantial duplication of labor in pretrial, trial or                ~ Yes*          ~ No
     sentencing proceedings if heard by differentjudges.                     Will more than 12 days be required to present government's
                                                                             evidence in the case-in-chief?
Related case(s), if any(MUST MATCH NOTICE OF RELATED
                                                                                      Yes         ~ No
CASE): N/A
                                                                             Was a Notice of Complex Case filed on the Indictment or
                                                                             I nformation?
                                                                                      Yes         ~ No
                                                                             *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                             M UST BE FILED ATTHE TIME THE SUPERSEDING INDICTMENT IS
                                                                             FILED IF EITHER "YES" BOX IS CHECKED.
CR-72 (12/17)                                                        CASE SUMMARY                                                       Page 1 of 2
           Case 8:19-cr-00061-JVS Document 17 Filed 04/10/19 Page 2 of 2 Page ID #:317

                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE SUMMARY

INTERPRETER                                                                CUSTODY STATUS
Is an interpreter required?      ❑YES       0 NO                             Defendant is not in custody:
                                                                             a. Date and time of arrest on complaint: 03/25/2019
IF YES, list language and/or dialect:
                                                                              b.Posted bond at complaint level on: 03/25/2019
                                                                                  in the amount of $ 300,000
OTHER
                                                                             c.PSA supervision?       ❑✓ Yes ~ No
✓ Male
~                   ~ Female                                                 d. Is on bailor release from another district:
✓ U.S. Citizen
0                   ~ Alien
 Alias Names)                                                                Defendant is in custody:
                                                                             a. Place of incarceration: ~ State ~ Federal

This defendant is charged in:                                                b. Name of Institution: N/A
    ~✓ All counts                                                            c. If Federal, U.S. Marshals Service Registration Number:
        Only counts:
                                                                             d.❑ Solely on this charge. Date and time of arrest:
    This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.                               e. On another conviction:         ~ Yes           ~ No
    This defendant is designated as "Special Case" per
                                                                                   IF YES: ❑State              ~ Federal       ~ Writ of Issue
     18 USC § 3166(b)(7).
                                     ~ Yes       ~✓ No                       f. Awaiting trial on other charges: ~ Yes         ❑ No
Is defendant a juvenile?
                                     ❑Yes        ~ No                              IF YES : ~ State     ~ Federal        AND
I F YES,should matter be sealed?
                                                                                  Name of Court:
The areas) of substantive law that will be involved in this case                  Date transferred to federal custody:
include(s):
~✓ financial institution fraud      ~ public corruption                      This person/proceeding is transferred from another district
                                                                             pursuant to F.R.Cr.P.         20             21             40
    government fraud                    ~✓ tax offenses
    environmental issues                0✓ mail/wire fraud
    narcotics offenses                  ~ immigration offenses
    violent crimes/firearms             ~ corporate fraud

Q Other        obstruction of administration of law, identity
theft, false declaration under oath, causing act to be done.




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




         Date         04/09/2019
                                                                           Signature of Assistant U.S. Attorney
                                                                           BRETT A. SAGEL
                                                                           Print Name
CR-72(12/77)                                                       CASE SUMMARY                                                       Page 2 of 2
